

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. 75,001






EX PARTE ROBERT EDWARD TUTTLE, Applicant








ON APPLICATION FOR A WRIT OF HABEAS CORPUS


FROM HOPKINS COUNTY






	Per Curiam.



O P I N I O N




		This is a post-conviction application for a writ of habeas corpus filed pursuant to Article
11.07, V.A.C.C.P.  Applicant was convicted of aggravated assault and punishment was assessed at life
imprisonment.  No appeal was taken from this conviction.

	Applicant contends that he was denied his right to a meaningful appeal when his counsel failed
to timely file notice of appeal.  The trial court has entered findings of fact and conclusions of law, based
upon the record, in which it concludes that Applicant was not afforded effective assistance of counsel
on appeal, and recommends that an out-of-time appeal be granted.

	Relief is granted.  Applicant is entitled to an out-of-time appeal in cause number 0216743 in the
8th Judicial District Court of Hopkins County.  Applicant is ordered returned to that point in time at
which he may give written notice of appeal so that he may then, with the aid of counsel, obtain a
meaningful appeal.  For purposes of the Texas Rules of Appellate Procedure, all time limits shall be
calculated as if the sentence had been imposed on the date that the mandate of this Court issues.  We
hold that should Applicant desire to prosecute an appeal, he must take affirmative steps to see that
written notice of appeal is given within thirty days after the mandate of this Court has issued.

	

DELIVERED: September 15, 2004

DO NOT PUBLISH


